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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                  Case No. 5:22cr33/TKW

WILLIAM KEITH CARTER
______________________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, WILLIAM KEIH CARTER, to lesser included offenses in Counts

One and Three of the Indictment is hereby ACCEPTED. All parties shall appear

before this Court for sentencing as directed.

       DONE and ORDERED this 20th day of March, 2023.

                                  T. Kent Wetherell, II
                                 T. KENT WETHERELL, II
                                 UNITED STATES DISTRICT JUDGE
